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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION

Samuel Callantine                           Case No.

Plaintiffs,                                   COMPLAINT FOR DAMAGES
                                                UNDER THE FAIR DEBT
v.                                           COLLECTION PRACTICES ACT,
                                                  THE TELEPHONE
Medicredit, Inc.                                 COMMUNICATIONS
                                             PROTECTION ACT, AND OTHER
Defendant.                                       EQUITABLE RELIEF

                                                JURY DEMAND ENDORSED
                                                       HEREIN


                                        PARTIES

1. Plaintiff, Samuel Callantine (“Mr. Callantine”), is a natural person who resided

     in Elkhart, Indiana at all times relevant to this action.

2. Defendant, Medicredit, Inc. (“Medicredit”), is a Missouri Corporation that

     maintained its principal place of business in Missouri at all times relevant to

     this action.

                            JURISDICTION AND VENUE

3.     Pursuant to 28 U.S.C. § 1331, this Court has federal question jurisdiction over

       this matter as it arises under the Fair Debt Collection Practices Act



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     (“FDCPA”), 15 U.S.C. § 1692, et seq., and the Telephone Consumer

     Protection Act (“TCPA”), 47 U.S.C. § 227.

4.   Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper because a substantial part

     of the events giving rise to the claims occurred in this District.

                           ALLEGATIONS OF FACT

5.   At all times relevant to this action, Medicredit collected consumer debts.

6.   Medicredit regularly uses instrumentalities of interstate commerce and the

     mails to collect consumer debts owed or due or asserted to be owed or due

     another.

7.   The principal source of Medicredit’s revenue is debt collection.

8.   Medicredit is a "debt collector” as defined by 15 U.S.C. § 1692a(6).

9.   As described, infra, Medicredit contacted Plaintiff to collect a debt that was

     incurred primarily for personal, family, or household purposes.

10. The obligation Medicredit was seeking to collect is a “debt” as defined by 15

     U.S.C. § 1692a(5).

11. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

12. Before Medicredit began contacting Plaintiff, it and Plaintiff had no prior

     business relationship and Plaintiff never provided express consent to

     Medicredit to be contacted on his cellular telephone.

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13. Within the past twelve (12) months, Medicredit called Plaintiff on multiple

     occasions in connection with the collection of a debt.

14. On several occasions, the dates of which will be discovered through

     discovery, Medicredit used an automatic telephone dialing system (ATDS) to

     call Plaintiff on his cellular phone multiple times in violation of the TCPA.

15. Medicredit used a predictive dialer system to call Plaintiff. See Prater v.

     Medicredit, 45 F.Supp.3d 1038 (2014 E.D. Mo.).

16. Plaintiff communicated his desire that Medicredit cease calling him.

17. On one occasion Mr. Callantine explained he was going into surgery; he was

     on medical leave; that he did not have any extra income and can not pay

     Medicredit anything; and that Medicredit should stop calling.

18. Notwithstanding these communications, Medicredit continued to call each

     Plaintiff in connection with the collection of a debt until at least January 16,

     2015.

19. Medicredit’s agents have the ability to immediately stop further calls to

     consumers, but the policy of Medicredit is to allow its predictive dialer to

     continue calling a consumer following a “cease calling” request until a future

     date.



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                               APPLICABLE LAW

20. Section 1692d of the FDCPA provides, in part:

             A debt collector may not engage in any conduct the natural
             consequence of which is to harass, oppress, or abuse any person in
             connection with the collection of a debt.

     See 15 U.S.C. §1692d.

21. Where a consumer has communicated his desire that a debt collector stop

     calling, and the debt collector nevertheless continues to call the consumer, the

     volume and pattern of the calls may evidence intent to harass in violation of

     Section 1692d. See Majeski v. I.C. Sys., Inc., 2010 U.S. Dist. LEXIS 1830,

     *5-7 (N.D. Ill. Jan. 8, 2010).

22. Section 1692f of the FDCPA provides, in part:

             A debt collector may not use unfair or unconscionable means to
             collect or attempt to collect any debt.

     See 15 U.S.C. §1692f.

23. Where a question exists as to whether a debt collector’s alleged misconduct

     violates Section 1692f or some other section of the FDCPA, the prudent

     course at the pre-trial stage is to allow the consumer to pursue claims under

     both sections. See Davis v. Diversified Consultants, Inc., 2014 U.S. Dist.

     LEXIS 87867, *25 (D. Mass. June 27, 2014); citing Rush v. Portfolio

     Recovery Associates, LLC, 977 F. Supp. 2d 414, 432 (D.N.J. 2013).
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24. Medicredit’s maintenance of policies and practices, which in themselves

     violate the FDCPA, are further evidence of Medicredit’s intent to harass. See

     Anchondo v. Anderson, Crenshaw & Associates, L.L.C., 256 F.R.D. 661, 2009

     U.S. Dist. LEXIS 32369 (D. N.M. Mar. 16, 2009) (debt collector’s intent to

     violate the FDCPA may be inferred by its maintenance of policies and

     procedures which, in themselves, violate the FDCPA); see also Kromelbein v.

     Envision Payment Solutions, Inc., 2013 U.S. Dist. LEXIS 107762, *18 (M.D.

     Penn. Aug. 1, 2013)(“company policy can be just as much a violation of

     [FDCPA] as the rogue act of an individual employee. If anything, a company

     policy that violates the FDCPA is a more egregious transgression because it

     indicates endemic, rather than isolated, disregard for debtor rights.”).

25. The TCPA provides, in part:

             (b) RESTRICTIONS ON THE USE OF AUTOMATED
             TELEPHONE EQUIPMENT.—

                   (1) PROHIBITIONS.—It shall be unlawful for any person
                   within the United States, or any person outside the United
                   States if the recipient is within the United States—

                          (A) to make any call (other than a call made for
                          emergency purposes or made with the prior express
                          consent of the called party) using any automatic
                          telephone dialing system or an artificial or prerecorded
                          voice—

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                                 (iii) to any telephone number assigned to a paging
                                 service, cellular telephone service, specialized
                                 mobile radio service, or other radio common
                                 carrier service, or any service for which the called
                                 party is charged for the call…

      47 U.S.C. §§ 227(b)(1)(A)(iii).


26. The term “called party,” as used in Section 227(b)(1)(A) of the TCPA, refers to

   the person or entity subscribing to the called number at the time the telephone

   call is made. See Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1251-52

   (11th Cir. 2014).

27. The TCPA provides, in part:

             If the court finds that the defendant willfully or knowingly violated
             this subsection or the regulations prescribed under this subsection, the
             court may, in its discretion, increase the amount of the award to an
             amount equal to not more than 3 times the amount available under
             subparagraph (B) of this paragraph.

    47 U.S.C. § 227(b)(3).

28. The Communications Act of 1943, of which the TCPA is a part, defines

   “willful” as “the conscious or deliberate commission or omission of such act,

   irrespective of any intent to violate any provision[], rule or regulation....” 47

   U.S.C. § 312(f).



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29. In order to establish a “willful” or “knowing” violation of the TCPA, a plaintiff

   need not demonstrate that the defendant intended to violate the statute, or that it

   knew or should have known it was violating the statute. See Roylance v. ALG

   Real Est. Servs., Inc. 2015 U.S. Dist. LEXIS 44930, *31 (N.D. Cal. Mar. 16,

   2015) Bridgeview Health Care Ctr. Ltd. v. Clark, 2013 U.S. Dist. LEXIS

   37310, *21-22 (N.D. Ill. Mar. 19, 2013); Steward v. Regent Asset Mgmt.

   Solutions, Inc., 2011 U.S. Dist. LEXIS 50046, *18-20 (N.D. Ga. 2011).

30. Instead, a plaintiff need only show that the defendant engaged in a “voluntary

   act” that violated the TCPA. See Bridgeview, 2013 U.S. Dist. LEXIS, at *21-

   22; see also Roylance, 2015 U.S. Dist. LEXIS, at *31 (intentionally making

   phone calls that violated TCPA, without intent to violate the statute, was

   sufficient to warrant treble damages).

31. In addition, a company that places telephone calls using an ATDS and/or an

   artificial or prerecorded voice bears a responsibility to place intermittent live

   verification calls to ensure the subscriber being called has provided his or her

   express consent to be called. See Breslow v. Wells Fargo Bank, N.A., 857 F.

   Supp. 1316, 1322 (S.D. Fla 2012).




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                                    COUNT ONE

                 Violation of the Fair Debt Collection Practices Act

32. In 2014, Medicredit began calling Mr. Callantine on his cellular phone in an

     attempt to collect a debt.

33. Mr. Callantine communicated his desire that Medicredit cease calling him.

34. Notwithstanding this communication, Medicredit continued to call him

     multiple times on his cellular phone in connection with the collection of a

     debt within the last twelve months.

35. Medicredit continued to call him resulting in harassment and abuse.

36. Medicredit caused Mr. Callantine emotional distress.

37. Medicredit violated 15 U.S.C. § 1692d by engaging in conduct the natural

     consequence of which is to harass, oppress, or abuse him in connection with

     the collection of the debt.

38. Medicredit violated 15 U.S.C. § 1692f by using unfair or unconscionable

     means to collect the debt.




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                                     COUNT TWO

            Violation of the Telephone Communication Protection Act

39. Mr. Callantine was the “called party” within the meaning of Section

     227(b)(1)(A) of the TCPA.

40. Medicredit violated 47 U.S.C. § 227(b)(1)(A) on multiple and separate

     occasions by each time calling Mr. Callantine’s cellular telephone using an

     ATDS without his prior express consent.

41. Medicredit voluntarily placed telephone calls to his cellular telephone using

     an ATDS.

42. Medicredit willfully and knowingly violated 47 U.S.C. § 227(b)(1)(A) on

     multiple and separate occasions by each time calling Mr. Callantine’s cellular

     telephone using an ATDS without his prior express consent or after such

     consent had been revoked.

                             PRAYER FOR RELIEF

      Plaintiff, Samuel Callantine, prays for the following relief:

         a. Judgment against Defendant for actual damages, statutory damages,

            and costs and reasonable attorney’s fees pursuant to 15 U.S.C.

            §1692k.



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         b. An order enjoining Defendant from placing further telephone calls to

            this Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

         c. Judgment against Defendant for statutory damages pursuant to 47

            U.S.C. § 227(b)(3) for each and every call Defendant made in

            violation of the TCPA.

         d. For such other legal and/or equitable relief as the Court deems

            appropriate.


                                      RESPECTFULLY SUBMITTED,
                                      Hyslip & Taylor, LLC, LPA


                                      By:     /s/ David M. Menditto
                                            One of Plaintiff’s Attorneys

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